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  7
                              UI\ITED STATES DISTRICT COURT
  8
                         CENTRAL DISTRICT OF CALIF'ORIIIA
  9

 10    LEO PAPPAS,                              CASE NO
 1l                               Plaintiff,
                                                COMPLAINT FOR DAMAGES
 I2                     V.
                                                DEMAND FOR JURY TRIAL
 13    UNITED STATES OF AMERICA,
                                                    1. Personal Injury Action Under the
 I4                              Defendant.            Federal Tort Claims Act
 l5                                                   (28   u.s.c. $1346(b))
 I6
 t7         Leo Pappas ("Plaintiff'), upon information and belief, alleges the following
 18                                   INTRODUCTION
 t9         1.    This is a case arising out of bodily injuries caused by a United States
 20   Postal Service Truck.
 2l         2.    This case is commenced and prosecuted against the United States of
 22   America pursuant to and in compliance with Title 28 U.S.C. 992671-2680,
 ZJ   commonly referred to as the "Federal Tort Claims Act," and39 U.S.C.      $l0I   et seq.,
 24   commonly referred to as the'oPostal ReorganizationAct." Liability of the United
 25   States is predicated specifically on Title 28 U.S.C. $$1346(bX1) and2674 and39
 26   U.S.C. $409 because the personal injuries and resulting damages of which
 27   complaint is made, were proximately caused by the negligence, wrongful acts
 28   andlor omissions of employees of the United States of America working for the
                                           CO
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  1   United States Postal Service in North Hollywood, California, while acting within
  2   the scope of their office or employment, under circumstances where the United
  J   States of America,   if a private   person, would be liable to the Plaintiff in the same
  4   manner and to the same extent as a private individual.
  5                              JURISDICTION AND VENUE
  6          3.     This action arises under the Federal Tort Claims Act,28 U.S.C. S 267I
  7   et seq., and plaintiffs have complied with all administrative prerequisites to the
  8   institution of suit by submitting an Administrative Claim on June 26,2018. Over
  9   six months have elapsed and the agency has not made a ftnal disposition of the
 10   claim. Accordingly, all claims are deemed denied and Plaintiffs have complied with
 11   all jurisdictional prerequisites and conditions precedent to commencement and

 t2   prosecution of this litigation. See 28 U.S.C. 52675.

 13         4.     This Court has jurisdiction of the instant action pursuant to 28 U.S.C.         $

 I4   1331, in that this case arises under the Federal Tort Claims Act, and pursuant to 28

 l5   U.S.C. $ 1346, and this Court has original jurisdiction over all claims against the

 r6   United States of America and the United States Postal Service.

 17         5.     The United States of Americ a may be served with process in

 18
      accordance with Rule 4(i) of the Federal Rules of Civil Procedure by serving a copy

 t9   of the Summons and of the Complaint on United States Attorney Nicola T. Hanna,

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      United States Attorney for the Central District of California,by certified mail,
      return receipt requested at his office, United States Attorney, District of California,
 2l
      300 North Los Angeles Street, STE 7516, Los Angeles, CA 90012,to             the attention
 22
      of the Civil Process Clerk, and by serving a copy of the Summons and Plaintiff           s
 L3
      Original Complaint on WilliamBarr, Attomey General of the United States, by
 24
      certified mail, return receipt requested, at the Attorney General's Office,     1Oth   and
 25
      Constitution Avenue, N.W., Washington, DC 20530, to the attention of the Civil
 26
      Process Clerk.
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            6.     Venue is proper in the Central District of California pursuant to 28

                                               COMPLAINT
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  1   U.S.C. $ 1402(b) , inthat plaintiff resided in this judicial district at all relevant times
  2   and the accident that gives rise to this litigation occurred in this district.
  J                                           PARTIES
  4          7.     At all relevant times, Plaintiff Leo   Pappas was a U.S. citizen and
  5   resident of Los Angeles County, Califomia.
  6          8.     Defendant the United States of America is a body politic which for
  7   purposes of this litigation operates through its executive branch an agency      of
  8   government known as the United States Postal Service, which is an "independent
  9   establishment of the executive branch of the Government of the United States." 39
 10   U.S.C. $201. The United States of America, Defendant herein, through its agency          ,

 11   the United States Postal Service, at all times material hereto, owned, operated and
 t2   controlled the United States Postal Offices in North Hollywood, California and
 13   staffed said facilities and vehicles with its agents, servants, andlor employees. At all
 T4   times material hereto, all persons involved in supervising and operating the United
 15   States Postal vehicle in question, including but not limited to Senovia Shirley

 16   Martingraham, were agents, servants, andlor employees of the United States         of
 T7   America, or some other agency thereof, and were at all times material hereto, acting
 18   within the course and scope of such employment.
 l9                                FACTUAL ALLEGATIONS
 20         9.     This is a Federal Tort Claims Action for monetary damages sustained
 2l   by the Plaintiff resulting from personal injuries suffered as a result of negligent
 22   operation of a United States Postal Service (USPS) vehicle.
 23          10.   On or about January 5,2018, Senovia Shirley Martingraham, during
 24   the course and scope of her employment with the United States Postal Service
 25   (USPS). Negligently and carelessly drove andlor operated a United States Postal
 26   Service vehicle GM Gruman so as cause a collision with a 1985 Harley Davidson
 27   motorcycle being driven by claimant Leo Pappas on Colfax Avenue in the city of
 28   Los Angeles, California.
                                             COMPLAINT
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  1      CAUSE OF ACTION AGAINST                       UNITED STATES OF AMERICA
  2                                       NEGLIGENCE
  a
  J           11.   Defendant Senovia Shirley Martingraham violated Vehicle Codes. VC
  4   $$ 22 100(a), 22107, 22108, 22109, 21209(3). Accordingly, defendant was
  5   negligent per se and the failure to use due care is presumed.
  6           12.   As a proximate result of said acts and conduct by the Defendants, and
  7   each of them, Plaintiff was severely injured in his health, strength and activity,
  8   sustaining, among other injuries, severe shock and injury to his nervous systems,
  9   and various injuries to his person, all of which injuries have caused and       will
 10   continue to cause Plaintiff great mental and physical pain and suffering.
 11           13.   As a funher direct and proximate result of the acts and conduct of the
 t2   defendants, and each of them, as herein above alleged, Plaintiff sustained the
 I3   following damages:
 T4           (a)   Plaintiff was compelled to and did incur liability for medical care,
 15   treatment, drugs, therapy and incidental expenses, and Plaintiff is informed and
 T6   believes, and thereon alleges,thatPlaintiff     will   necessarily, by reason of his
 t7   injuries, require additional medical care and therapy, and incur incidental expenses.
 18   The   full extent of all such expenses incurred,   and to be incurred, is presently
 l9   unknown to Plaintiff. Plaintiff will, however, seek leave of court to amend this
 20   complaint to allege said amount when the same are ascertained;
 2I          (b)    As a result of the collision, Plaintiff sustained multiple severe injuries,
 22   including but not limited to physical and other associated injuries. Said injuries
 23   have caused and continue to cause Plaintiff to suffer tremendous pain, discomfort,
 24   mental anguish, suffering, humiliation, physical disfigurement, impairment and
 25   disability, and lost enjoyment of life;
 26          (c)    Plaintiff was prevented from attending to his usual occupations and
 27   activities and has sustained a loss of earnings thereby.
 28          (d)    Plaintiff has suffered an impairment of his earning capacity.
                                            COMPLAINT
                                                  4
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      I            (e)   Plaintiff received damage to and loss of use of his motorcycle.
     2    I   l.   As a proximate result of said acts and conduct by the defendants, and each of
      I
          them, Plaintiff sustained the injuries and damages alleged herein above.
     4    11.      Plaintiff pleads for all damages available under California state law, federal
     5    law, and equity.
     6                                    PRAYPR FOR RELIEF
     1             Plaintiff requests that Defendant be cited in terms of law to appear and
     8    answer herein; that Plaintiff has judgment against Defendant, for the amount        of
     9    actual damages, and all other damages under applicable federal and state law to
 l0       which he is entitled; for post judgment interest at the applicable legal rate; for all
 ll       recoverable Court costs incurred in this litigation; and for such other and further
 t2       relief, to which Plaintiff may show himself to be entitled.
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t4        DATED: June 4,2019
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                                                                                  for Plaintiff LEO
l8                                                 PAPPAS

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                                                COMPLAINT
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